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7                                    UNITED STATES DISTRICT COURT
8                                     EASTERN DISTRICT OF CALIFORNIA
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10   SEQUOIA FORESTKEEPER, et al.,                          )    Case No. 1:16-cv-00759-AWI-JLT
                                                            )
11                     Plaintiffs,                          )    SCHEDULING ORDER1
12            v.                                            )
                                                            )
13   ERIC LA PRICE, et al.,                                 )
                                                            )
14                                                          )
                       Defendants.
15
16            On March 30, 2017, the parties filed their joint status report detailing that the Forest Service

17   will complete its determination whether further NEPA review is warranted by April 20, 2017. (Doc. 38

18   at 2) If it is not warranted, the project may proceed this summer. Id. The parties agree to the following

19   schedule2 and, therefore, the Court ORDERS:

20            1.       No later than April 28, 2017, plaintiff SHALL circulate its proposed first amended

21   complaint;

22            2.       No later than May 5, 2017, plaintiff SHALL file either a stipulation to amend the

23   complaint or a motion to amend the complaint;

24            3.       Plaintiff SHALL file its merits brief no later than May 12, 2017;

25            4.       Defendant/Intervenor SHALL file its answering brief no later than May 26, 2017;

26            5.       Plaintiff’s reply brief, if any, SHALL be filed no later than June 9, 2017;
27
     1
       The status conference set on April 7, 2017 is VACATED.
28   2
       The parties proposed a different hearing date. However, the proposed hearing date is not workable for the Court at this
     time. Moreover, the Defendant/Intervenor may seek leave to file a sur-reply but that request is not granted here.

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1          6.     The hearing on the merits briefs is set on July 31, 2017 at 1:30 p.m. before the

2    Honorable Anthony W. Ishii.

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4    IT IS SO ORDERED.

5       Dated:   March 31, 2017                             /s/ Jennifer L. Thurston
6                                                    UNITED STATES MAGISTRATE JUDGE

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